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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.     CR07-156 RSL
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    MAREK KAZARYN,               )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Conspiracy to Distribute Cocaine, in violation of Title 21, U.S.C., Sections
18            841(a)(1), 841(b)(1)(A), and 846.
19 Date of Detention Hearing: May 2, 2007
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22 hereafter set forth, finds that no condition or combination of conditions which the defendant
23 can meet will reasonably assure the appearance of the defendant as required and the safety
24 of any other person and the community. The Government was represented by Ron
25 Friedman and Norman Barbosa. The defendant was represented by William Hines.
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 1       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2           (1)    There is probable cause to believe the defendant committed the drug
 3                  offenses of conspiracy to distribute cocaine. The maximum penalty is in
 4                  excess of ten years. There is therefore a rebuttable presumption against
 5                  the defendant’s release based upon both dangerousness and flight risk
 6                  under Title 18 U.S.C. § 3142(e).
 7           (2)    Nothing in this record satisfactorily rebuts the presumption against
 8                  release for several reasons. Under Title 18 § 3142 (g), the Court
 9                  considered the following: (a) The nature and circumstances of the
10                  offense charged, including whether the offense is a crime of violence or
11                  involves a narcotic drug;(b) the weight of the evidence; (c) the history
12                  and characteristics of the person, including the person’s character, family
13                  ties, employment, financial resources, length of residence in the
14                  community, community ties, past conduct, criminal history, and record
15                  concerning appearance at court proceedings and, (d) the risk of danger to
16                  the community.
17           (3)    In this case the rebuttable presumption was not overcome after the Court
18                  carefully considered the letters from family and friends, and the
19                  numerous documents to explain his statements to U.S. Pretrial Services
20                  regarding his stated income, assets, liabilities and expenditures.
21                  Weighed along with these factors, the Court considered the number of
22                  times U.S. and Canadian border records show his entry into the United
23                  States which the Government argued was inextricably tied to the
24                  smuggling or trafficking of narcotics across the U.S. and Canadian
25                  border.
26   Based upon the foregoing information which is also consistent with the recommendation

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 1 of detention by U.S. Pre-trial Services, it appears that there is no condition or
 2 combination of conditions that would reasonably assure future Court appearances and/or
 3 the safety of other persons or the community.
 4           It is therefore ORDERED:
 5           (l)    The defendant shall be detained pending trial and committed to the
 6                  custody of the Attorney General for confinement in a correction facility
 7                  separate, to the extent practicable, from persons awaiting or serving
 8                  sentences or being held in custody pending appeal;
 9           (2)    The defendant shall be afforded reasonable opportunity for private
10                  consultation with counsel;
11           (3)    On order of a court of the United States or on request of an attorney for
12                  the Government, the person in charge of the corrections facility in which
13                  the defendant is confined shall deliver the defendant to a United States
14                  Marshal for the purpose of an appearance in connection with a court
15                  proceeding; and
16           (4)    The clerk shall direct copies of this order to counsel for the United
17                  States, to counsel for the defendant, to the United States Marshal, and to
18                  the United States Pretrial Services Officer.
19           DATED this 2nd day of May, 2007.
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23                                                      MONICA J. BENTON
24                                                      United States Magistrate Judge

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